    Joseph N. Mazzara                                                                                      (512) 936-2923
    Assistant Solicitor General                                                                 Joe.Mazzara@oag.texas.gov

                                                        January 15, 2025
Via CM/ECF

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit

   Re:      No. 24-50149; USA v. State of Texas et al.

Dear Mr. Cayce:

   I am writing to advise the Court of my withdrawal as counsel for Appellants the
State of Texas and the Texas Department of Public Safety in the above-referenced
case, as I am leaving my employment with the Office of the Attorney General.
Solicitor General, Aaron L. Nielson will remain counsel for the Appellants.



                                                                             Respectfully submitted.

                                                                             /s/ Joseph N. Mazzara

                                                                             Joseph N. Mazzara
                                                                             Assistant Solicitor General

cc: All counsel of record (via CM/ECF)




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